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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


                          Civil Action No.1:19-CV-11700-DLC


BRANDI WILLIAMS,                          )
                           Plaintiff      )
                                          )
V.                                        )
                                          )
METROPOLITAN CASUALTY                     )
INSURANCE COMPANY,                        )
                   Defendant              )


              DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT

      The defendant denies it is properly named in the Complaint. The defendant’s
proper name should be Metropolitan Property and Casualty Insurance Company. The
defendant incorporates this by reference in response to every paragraph referencing the
defendant.

                                       INTRODUCTION

1.    The defendant admits the allegations contained in Paragraph 1.

2.    The defendant denies the allegations contained in Paragraph 2.

3.    The defendant denies the allegations contained in Paragraph 3.

4.    The defendant denies the allegations contained in Paragraph 4.

5.    The defendant denies the allegations contained in Paragraph 5.

6.    The defendant denies the allegations contained in Paragraph 6.

                             JURISDICTION AND VENUE

7.    The defendant is without knowledge or information sufficient to form a belief as to
      the truth of the allegations of Paragraph 7 and calls upon the plaintiff to prove the
      same.

8.    The defendant denies it is “amendable to jurisdiction in Suffolk County
      Massachusetts” but admits the remaining allegations contained in Paragraph 8.
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9.    The defendant denies the Federal Court is a proper venue but admits the
      remaining allegations contained in Paragraph 9.

                                       PARTIES

10.   The defendant is without knowledge or information sufficient to form a belief as to
      the truth of the allegations of Paragraph 10 and calls upon the plaintiff to prove
      the same.

11.   The defendant denies it is properly named in the Complaint. The defendant’s
      proper name should be Metropolitan Property and Casualty Insurance
      Company. The defendant admits the remaining allegations contained in
      Paragraph 11.

                             GENERAL ALLEGATIONS

12.   The defendant denies the allegations contained in Paragarph 12.

13.   The defendant denies the allegations contained in Paragraph 13.

14.   The defendant is without knowledge or information sufficient to form a belief as to
      the truth of the allegations of Paragraph 14 and calls upon the plaintiff to prove
      the same.

15.   The defendant admits it insured the vehicle involved in the collision but denies
      the remaining allegations contained Paragraph 15.

16.   The defendant admits the allegations contained in Paragarph 16.

17.   The defendant is without knowledge or information sufficient to form a belief as to
      the truth of the allegations of Paragraph 17 and calls upon the plaintiff to prove
      the same.

18.   The defendant denies the allegations contained in Paragraph 18.

19.   The defendant is without knowledge or information sufficient to form a belief as to
      the truth of the allegations of Paragraph 19 and calls upon the plaintiff to prove
      the same.

20.   The defendant is without knowledge or information sufficient to form a belief as to
      the truth of the allegations of Paragraph 20 and calls upon the plaintiff to prove
      the same.

21.   The defendant is without knowledge or information sufficient to form a belief as to
      the truth of the allegations of Paragraph 21 and calls upon the plaintiff to prove
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      the same.

                           COUNT I – NEGLIGENCE
              Defendant Metropolitan Casualty Insurance Company

22.   The defendant repeats, realleges and incorporates herein the answers as set
      forth in Paragraphs 1 – 21 of this Answer.

23.   The defendant is without knowledge or information sufficient to form a belief as to
      the truth of the allegations of Paragraph 23 and calls upon the plaintiff to prove
      the same.

24.   The defendant admits the allegations contained in Paragraph 24.

25.   The defendant denies the allegations contained in Paragraph 25.

26.   The defendant denies the allegations contained in Paragraph 26.

27.   The defendant denies the allegations contained in Paragarph 27.

28.   The defendant denies the allegations contained in Paragraph 28.

29.   The defendant is without knowledge or information sufficient to form a belief as to
      the truth of the allegations of Paragraph 29 and calls upon the plaintiff to prove
      the same.

30.   The defendant denies the allegations contained in Paragraph 30.

       WHEREFORE, the defendant, Metropolitan Casualty Insurance Company, denies
that the plaintiff is entitled to judgment against them.

                        COUNT II - Loss of Consortium
              Defendant Metropolitan Casualty Insurance Company

31.   The defendant repeats, realleges and incorporates herein the answers as set
      forth in Paragraphs 1 – 30 of this Answer.

32.   The defendant denies the allegations contained in Paragraph 32.

       WHEREFORE, the defendant, Metropolitan Casualty Insurance Company, denies
that the plaintiff is entitled to judgment against them.

                        COUNT III - Loss of Consortium
              Defendant Metropolitan Casualty Insurance Company

33.   The defendant repeats, realleges and incorporates herein the answers as set
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      forth in Paragraphs 1 – 32 of this Answer.

34.   The defendant denies the allegations contained in Paragraph 34.

       WHEREFORE, the defendant, Metropolitan Casualty Insurance Company, denies
that the plaintiff is entitled to judgment against them.

            COUNT VI (sic) – Negligent Infliction of Emotional Distress
              Defendant Metropolitan Casualty Insurance Company

35.   The defendant repeats, realleges and incorporates herein the answers as set
      forth in Paragraphs 1 – 34 of this Answer.

36.   The defendant is without knowledge or information sufficient to form a belief as to
      the truth of the allegations of Paragraph 36 and calls upon the plaintiff to prove the
      same.

37.   The defendant denies the allegations contained in Paragraph 37.

38.   The defendant denies the allegations contained in Paragraph 38.

       WHEREFORE, the defendant, Metropolitan Casualty Insurance Company, denies
that the plaintiff is entitled to judgment against them.

                    COUNT VI (sic) – MGL Chapter 93A/176D
               Defendant Metropolitan Casualty Insurance Company

39.   The defendant repeats, realleges and incorporates herein the answers as set
      forth in Paragraphs 1 – 38 of this Answer.

40.   The defendant admits the allegations contained in Paragraph 40.

41.   The defendant denies the allegations contained in Paragraph 41.

42.   The defendant admits the allegations contained in Paragraph 42.

43.   The defendant denies the allegations contained in Paragraph 43.

44.   The defendant denies the allegations contained in Paragraph 44.

45.   The defendant denies the allegations contained in Paragraph 45.

46.   The defendant denies the allegations contained in Paragraph 46.

47.   The defendant denies the allegations contained in Paragraph 47.
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48.    The defendant denies the allegations contained in Paragraph 48.

49.    The defendant denies the allegations contained in Paragraph 49.

50.    The defendant denies the allegations contained in Paragraph 50.

       WHEREFORE, the defendant, Metropolitan Casualty Insurance Company, denies
that the plaintiff is entitled to judgment against them.


                               AFFIRMATIVE DEFENSES

FIRST DEFENSE
The claims arising out of the subject matter of the transactions and occurrences alleged
are barred because the negligence of plaintiff is greater than the negligence of the
defendant.

SECOND DEFENSE
The claims arising out of the subject matter of the transactions and occurrences alleged
are barred by an absence of legal responsibility on the part of the defendant.

THIRD DEFENSE
The defendant claims an exemption from tort to the extent that the plaintiff is entitled to
recover under the provisions of a motor vehicle liability policy or bond that provides
personal injury protection benefits pursuant to M.G.L. Ch. 90 § 34M.

FOURTH DEFENSE
The plaintiff may not recover damages for pain and suffering including mental suffering
associated with the alleged injuries since the plaintiff did not incur expenses for
reasonable and necessary medical services, as defined in M. G.L. Ch. 231 § 6D in excess
of the monetary amount required and the injuries alleged are not within any of the
exceptions contained in said statute.

FIFTH DEFENSE
This action should be dismissed for lack of jurisdiction.

SIXTH DEFENSE
This action should be dismissed for improper venue.

SEVENTH DEFENSE
This action should be dismissed for insufficient process.

EIGHTH DEFENSE
This action should be dismissed for insufficient service of process.
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NINTH DEFENSE
The plaintiff’s complaint fails to state a claim for which relief may be granted, and should
be dismissed.

TENTH DEFENSE
The claims arising out of the subject matter of the transactions and occurrences alleged
are barred by the applicable statute of limitations.

ELEVENTH DEFENSE
The defendant states that the plaintiff’s alleged injuries and damages were caused by
person(s) for whose conduct the defendant is not responsible.

TWELFTH DEFENSE
The plaintiff has failed to mitigate damages.

THIRTEENTH DEFENSE
The defendant hereby gives notice that he intends to rely upon such other and further
defenses as may become available or apparent during discovery proceedings in this
action and hereby reserves the right to amend his Answer and to assert any such defense
by appropriate motion.

       THE DEFENDANT DEMANDS A TRIAL BY JURY AS TO ALL ISSUES.

                                                 Respectfully submitted,
                                                 Defendant, by its attorney,



                                                 /s/ Maureen H.S. Hebert________
                                                 Maureen H.S. Hebert, Esquire
                                                 BBO#: 630412
                                                 Law Offices of Amy Kropke
                                                 160 Gould Street, Suite 110
                                                 Needham, MA 02494
                                                 (781) 449-8702

Dated: __09/06/19_______________.
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                            CERTIFICATE OF SERVICE


      I, Maureen H.S. Hebert, Attorney for the Defendant, Metropolitan Casualty
Insurance Company, hereby certify that on this date I served the following document:



                   Answer of Defendant to Plaintiff’s Complaint.



by serving an electronic copy of the same to: Brandi Williams, Pro Se, 12
Westminster Avenue, Boston, MA 02119.




                                              /s/ Maureen H.S. Hebert
                                              Maureen H.S. Hebert, Esquire

DATED: __09/06/19__________
